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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                          Crim. Action No. 1:21CR508(BAH)

 LANDON BRYCE MITCHELL,

                     Defendant.



       MR. MITCHELL’S EMERGENCY MOTION TO HOLD SENTENCING
      HEARING ON CURRENTLY SCHEDULED DATE, MARCH 3, 2023, OR
                       MONDAY, MARCH 6, 2023

        Landon Mitchell, through counsel, respectfully moves this Court to hold the

sentencing hearing in this matter on the presently-scheduled date of March 3, 2023.

If that date is unavailable to the Court, Mr. Mitchell respectfully moves the Court to

hold the hearing on Thursday, March 2, 2023, or the following Monday, March 6,

2023.

        Mr. Mitchell is indigent. He has $8 to his name. Presentence Report, ECF No.

111, ¶ 138. He has been on home incarceration for the past month, with an Order

that he is not permitted to work or otherwise leave the home. Because he is destitute,

his mother purchased tickets for herself and Mr. Mitchell to travel to the District on

Wednesday, February 29, 2023, in advance of the sentencing hearing. The tickets cost

approximately $727 and are non-refundable. Mr. Mitchell’s mother has limited

disposable income and she delayed paying bills to purchase the tickets. She cannot

afford to lose the tickets and purchase another ticket for Mr. Mitchell to come to the

district in April. In support of this Motion, counsel states:
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1. Mr. Mitchell is before the Court having accepted responsibility to, inter alia,

   obstruction of justice. The Federal Public Defender has been appointed to

   represent him because he has been deemed indigent.

2. Mr. Mitchell resides in Texas. At the stipulated trial hearing on December 7,

   2023, the Court set the sentencing hearing in this matter for March 3, 2023.

   As soon as the hearing was set, Mr. Mitchell and his mother began looking for

   affordable flights to the District.

3. On January 27, 2023, this Court ordered Mr. Mitchell to comply with home

   incarceration and explicitly forbid him from working his pest control job. Prior

   to the Court’s Order, Mr. Mitchell had been an hourly-wage employee.

   1/27/2023 Minute Order. Since Mr. Mitchell lost his job and has been unable

   to work for a month, he has no money. He does not have a credit card.

4. Mr. Mitchell’s mother has limited disposable income. Nonetheless, she was

   able to purchase two tickets so that she and Mr. Mitchell could attend the

   sentencing hearing the Court scheduled on March 3, 2023. The two are

   scheduled to depart on Wednesday, February 29, 2023. The tickets are non-

   refundable.

5. On February 27, 2023, the parties received an email from chambers notifying

   the parties that the Court can no longer hold the hearing on March 3, 2023 and

   inquiring as to the parties’ availability on April 20, 2023. Counsel are available

   on April 20, 2023. However, losing the currently-purchased tickets and
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  purchasing new tickets would be next to impossible for Mr. Mitchell and his

  mother and would create significant financial hardship.

6. Accordingly, Mr. Mitchell respectfully moves the Court to maintain the

  currently scheduled sentencing hearing date. In the alternative, Mr. Mitchell

  moves the Court to hold the hearing on either March 2 or March 6, 2023.

  Finally, if that is not possible and the sentencing hearing is continued, Mr.

  Mitchell moves the Court to order the Marshal Service to arrange to pay for

  his travel to this district for the April 20, 2023 sentencing hearing. See 18

  U.S.C. § 4285



                                        Respectfully Submitted,

                                        A.J. KRAMER
                                        FEDERAL PUBLIC DEFENDER


                                        ______/s/____________________
                                        ELIZABETH MULLIN
                                        DIANE SHREWSBURY
                                        Assistant Federal Public Defender
                                        625 Indiana Avenue, N.W., Suite 550
                                        Washington, D.C. 20004
                                        (202) 208-7500
